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UNITED STATES DISTRICT COURT MAR 3 1 2005

FOR THE WESTERN DISTRICT OF VIRGINIA JO . RC RAN 'ERK
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WILLIAM WALLIS, Civil Action No.

)

)
Plaintiff, ) 7:05CV00174
)

V. )
)

EASTERN MANUFACTURING CORPORATION, )
)

BOSS MANAGEMENT GROUP, INC., )
)

FABRIKO, INC., )
)

PACIFIC ATLANTIC HOLDINGS LIMITED, )
)

and )
)

ROBERT NITTI, )
)
Defendants. )

AGREED ORDER

 

CAME THIS DAY the parties, by counsel, who represented to
the Court that they have reached a settlement of this dispute.
It is hereby ordered that DECLARATORY JUDGMENT shall be entered
in favor of the plaintiff William Wallis and it is hereby
ADJUDGED that the plaintiff William Wallis is the incorporator
and the owner of all of the stock of Boss Management Group, Inc.,
Fabriko, Inc., and Pacific Atlantic Holdings Limited, and that
the defendant Robert Nitti is the incorporator and owner of all
of the stock of Eastern Manufacturing Corporation. It is further
ADJUDGED that the defendant Robert Nitti is not the incorporator
and has no ownership interest in the stock of Boss Management
Group, Inc., Fabriko, Inc., and Pacific Atlantic Holdings

Limited.

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This case shall be closed and stricken from the docket of

this Court.

 

Chief/U.S. District Judge

5/3//0$'

Date

WETASK FOR THIS:`

Darren Delafield, Co'nsel
for Plaintiff

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Gary M. Bowman, Counsel for
Defendants

 

 

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